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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 BLANK ROME LLP
 Joel C. Shapiro, Esquire
 Shlomo B. Troodler, Esquire
 Woodland Falls Corporate Park
 210 Lake Drive East, Suite 200
 Cherry Hill, NJ 08002
 (856) 779-3600
 Counsel for Arcus ASI Funding, LLC

 In re:                                             Case No. 08-14631

Shapes/Arch Holdings L.L.C.,                        Judge: Gloria M. Burns
Shapes L.L.C., Delair L.L.C., Accu-Weld L.L.C.,
and Ultra L.L.C.,                                   Chapter: 11

                        Debtors.


               WITHDRAWAL OF APPLICATION FOR THE ADMISSION OF
                JOHN E. LUCIAN, ESQUIRE PRO HAC VICE AS COUNSEL
                           TO ARCUS ASI FUNDING, LLC

          Arcus ASI Funding, LLC, by and through its undersigned counsel, hereby withdraws its

 Application for the Admission of John E. Lucian, Esquire Pro Hac Vice as Counsel To Arcus

 ASI Funding, LLC [Dkt. No. 211].


 May 7, 2008                                  BLANK ROME LLP


                                              /s/ Joel C. Shapiro
                                              Joel C. Shapiro, Esquire
                                              Shlomo B. Troodler, Esquire
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